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 4
     Attorney for Defendant
 5   CLYDE ARTHUR STROHL
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )       CR-F-04-5244 OWW
                                            )
12         Plaintiff,                       )       STIPULATION TO CONTINUE
                                            )       STATUS CONFERENCE FROM
13                                          )       12/10/07 at 1:30 p.m. TO 1/07/08
                                            )       at 1:30 p.m. AND PROPOSED
14                                          )       ORDER
                                            )
15                                          )
           v.                               )       Date: January 7, 2008
16                                          )       Time: 9:00 a.m.
                                            )       Dept: OWW
17   CLYDE ARTHUR STROHL et al.             )
                                            )
18                                          )
           Defendant.                       )
19                                          )
20
           IT IS HEREBY STIPULATED AMONG COUNSEL AS FOLLOWS:
21
           That the status hearing previously set for December 10, 2007 at 1:30 p.m..
22
     be continued to January 7, 2008 at 1:30 p.m., as counsel for CLYDE ARTHUR
23
     STROHL is currently in trial in Fresno County Superior Court, defendant
24
     STROHL has not been returned from the Federal Medical Facility in Fort Worth
25
     Texas, and additional time is also needed for resolution of the case. It is further
26
     stipulated that time will be excluded under the provisions of the Speedy Trial Act,
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28                                              1
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 1   18 U.S.C. § 3161 et seq. in that the ends of justice served by the continuance
 2   outweigh the best interest of the public and the defendant in a speedy trial, since
 3   the failure to grant such continuance would deny counsel for the defendant the
 4   reasonable time necessary for effective preparation, taking into account the
 5   exercise of due diligence.
 6
 7   DATED: December 6, 2007                /s/ Katherine Hart
                                            KATHERINE HART, Attorney for
 8                                          CLYDE ARTHUR STROHL
 9
10   DATED: December 6, 2007                /s/ Eric Fogderude
                                            ERIC FOGDERUDE,             Attorney     for
11                                          STEPHEN PROUT
12
     DATED: December 6, 2007                /s/ Stanley Boone
13                                          STANLEY BOONE, Assistant United
                                            States Attorney for the Eastern District
14
15
                                         ORDER
16
17         Good cause appearing it is hereby ordered that the status hearing in the case
18   of United States v. CLYDE ARTHUR STROHL et al., previously set for December
19   10, 2007 be continued to January 7, 2008 at 1:30 p.m.
20
21                             IT IS SO ORDERED.
22   Dated: December 7, 2007                    /s/ Oliver W. Wanger
     emm0d6                                UNITED STATES DISTRICT JUDGE
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